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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                                 ...........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                             15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

            Declaration of Laura A. Menninger in Support of Defendant’s Response
             in Opposition to Plaintiff’s Motion to Reopen Defendant’s Deposition

        I, Laura A. Menninger, declare as follows:

         1. I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell in this action. I respectfully submit this Declaration in support of

Ms. Maxwell’s Response to Plaintiff’s Motion to Reopen Defendant’s Deposition.

         2. Attached as Exhibit A (filed under seal) are true and correct copies of excerpts from                1111
the April 22, 2016 deposition of Ghislaine Maxwell, designated Confidential under the

Protective Order.

         3. Attached as Exhibit B (filed under seal) are true and correct copies of

communication between Mr. Gow and Ms. Maxwell Bates stamped GM_01036-01044.
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                                                                                    -
       4. Attached as Exhibit C (filed under seal) are true and correct copies of media email

inquiries requesting Ms. Maxwell’s input Bates stamped GM_01060-01068,00594.

       5. Attached as Exhibit D (filed under seal) are true and correct copies of

communications between Ms. Maxwell, Mr. Epstein and Mr. Barden Bates stamped GM_01069-

01072;01084-01099.


                                                                                    -
       6. Attached as Exhibit E (filed under seal) are true and correct copies of Plaintiff’s

medical releases requesting healthcare information sent October 10, 2016 Bates stamped

GIUFFRE009094-009102.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on October 24, 2016.

                                                 s/ Laura A. Menninger
                                                 Laura A. Menninger




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                                    CERTIFICATE OF SERVICE

I certify that on October 24, 2016, I electronically served this Declaration of Laura A.
Menninger in Support of Defendant’s Response in Opposition to Plaintiff’s Motion to Compel
Data from Defendant’s (Non-Existent) Undisclosed Email Account and For an Adverse
Inference Instruction via ECF on the following:

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                                               /s/ Nicole Simmons
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